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Fill in this information to identifyihe case: F § L.q § g

United States Bankmpicy Courl iorihe; ZBtB APR l 9 AH 91 25

 

Districtof
(State)
case number inknown>; chapter Cl check innis is an
amended filing
Giiiciai Fonn ZG'i
\I¢aluntar\_l Petitinn for Nnn-lndividua!s Filing for Bank!'upt¢:\__g nmi-z

ll

 

lt more space ls needed, attach a separate sheet to this form. On the top ot any additional pages, write the debtor’s name and the case
number (if inmvm). For man iniormation, a separate document hstmdims for Bankruptcy Forms fair Non-Jndividuais, is available

1. Debtor’s name

 

2. All other names debtor used
in the last 8 years

 

 

 

include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer ij 17 _ § 2 X:]Aé SX
identification Number (ElN) _ _

 

 

 

-`i- u' 'L'i¢'i'v`i 5 \;§»€§;;‘~';v

   

of business

 

 

csra libel /m`,/,, 901

Number Street Number Slreel

_B@ar 2>/; /M@/

Cuiy Siate ZlP Code Ci\y gm Z|p Code

 

Location of principal assets, lf different from

w g ,` Z¢_/Qz principal placeof business
.£o</ C€i§ t

Counly

 

Number Streei

SC£/W`_ aj @A@Mz

 

City State Z|P Code

5. Demor’s website (uRL) F\FU) SQ{@ i/\ 3'})@ , COm

g Corporation (inciuding Limiied Liabiiity Company (LLC) and Limited Liabiiity Partnership (LLP))
El Pannership (excluding LLP)
U owen speary:

s. Type of debtor

 

Official Fonn 201 Voluntary Peiiiion ‘for lion-individuals Filing for Bankmpicy page 1

 

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Debtor N¢§”/'(al;/ j U-'h(‘& ~<()9%0 ..96'-/0/| grady fha Casenumberurmn)

7. Describe debtor’s business

a. Under which chapter of the

 

debtor ft lng?

9. Were prior bankruptcy cases
filed by or against the debtor
within the iast 8 years?
if more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being died ivy a
business partner or an
affiliate of the debtor?

List all cases. if more than 1.
attach a separate |ist.

Ofiicia| Form 201

'.. 'v .' ;;,`;,F\ ;.;.' i;;.

n Health Care Business (as defined in 11 U. S. C. § 101(27A))

  

;3§\, ,'"'\'..'.,\,'1: . “;.:.. ;;.1..;1.;‘\“;. ’..“v. ‘.. ‘.'\;\.; ;‘.; '.; _.’. ;,. v. 3 :.';' ' ."; ;:,,

E] Reiiroad (as denned in 11 u s c § 101(44) )

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a Commodity Broker (as def ned in 11 U. S. C. § 101(6))
n Clearing Bank (as defined in ii U.S.C. § 781(3))
ANone of the above

B. Check all that apply:

L:l Tax-exempt entity (as described in 26 U.S.C. § 501-1

n investment company, including hedge fund or pooled investment vehicle (as denned in 15 U.S.C.
§ 80a-3)

m investment advisor (as defined in 15 U.S.C. § 80b~2(a)(11))

C. NNCS (North American industry Classification System) 4-digit code that best describes debtor. See
http:f/www.uscourts.qov!four-diqit~nationai-association-naics-codes .

 

Check one.'

L.l Chapter 7
n Chapter 9
&Uilaptul ii. Uin~,'uk ali that apply.
Cl Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders nr affiliatth nrc |¢=QQ than 929 ¢.P.R .’\.F.t’i tax/vincent ambient tr~. adjustment nn
*HU ll 15 d||U UVC|)’ \) yCd|d d|lCl l||d\}.
m The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the
debtor is a small business debtor, attach the most recent balance sheet, statement

of operations cash-tiow statement and federal income tax return or if all of these
documents do not exist, tdilow'the procedure in 11 U.S.C. § 1116(1)(3).

El A plan is being iled with this petition.

n Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

L|` The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Secun'ties and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act cf 1934. Fite the Att`achment` to t/Z)It/nt'ary Petifion Ibr Non-thdfi/iduafs Fiting
for Bankruptcy under Chapter 1 1 (OfEcial Fonn 201 A) with this form.

cl The debtor is a shell company as dehned in the Securities Exchange Act of 1934 Rule

 

 

 

12b-2.
Q C..h.apter 12
mo
13 Yes. bremer v\men case number
MM/ DD/YYYY
District When Case number
MM/ DDIYYYY
D~No
Cl ¥es. center Reiationship
District When

 

MM l DD l YYYY
Case number, if known

Voluntary Petition for Non-lndividuals Filing for Bankruptcy page 2

 

 

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Debtor 7£€£"(\€@(/\/ Lj' (/‘~’é/_é SS';[D SQ./DI/i gpich Casenwnberwwawni

11, Why is the case fiiedin this Gheck arlmarappry_-

district?
webtor has had its domicile, principal place of business or principal assets in this district for 180 days

irnmediateiy preceding the date of this petition or for a longer part of such 180 days than in any other
district

a A bankruptcy case concerning debtor’s atEliate, general partner, or partnership is pending in this district

::: -;`--;‘es :§:e debt-35 ;“:::t er have §§
possession of any~real

Cl Yes. Answer below for each property that needs immediate attention Attach additional sheets if needed
property or personal property

 

 

 

 

 

 

 

 

 

that needs immediate r-: , 1 , ,
attention?

n lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

a lt needs to be physically secured or protected from the weather.

Cl lt includes perishable goods or assets that could quickly deteriorate or lose value without
attention tier exampie, livestock seasonadi goode meat deimy, introduce cit securities-related
assets or other options).

n Other

Virriere is inc properiy?

Number Street
City State Z|P Code

ls the property insured?

l;\ i\ie

U Yes. insurance agency

Coritact name
Phone
- Statistical and administrative information
13. Debtor’s estimation of Check one.-
ava"able funds n Funds will be available for distribution to unsecured creditors
n After any administrative expenses are paid, no funds witt be available for distribution to unsealed creditors
_ \~¢L_Ms lJ recitation U 25;001-50,000
‘4' §:L':::;d """‘b°" °f El 50-99 ill 5,001-10,000 El 50,001-100,000
Ei 100-199 E.`l 10,001-25,000 Cl Mere than 100,000
Ei 200~999
E _ ed _ ~CJ seasons ii si,ooe,ooi~sio'miirien B ssoa,~ooo,ooisi mm
‘5~ St"“a‘ assets `B $50,001-$100,000 El $10,000,001-$50 million E] $1,000,000,001-$10 billion y
ill siou,ooissoo,ooo ill $50,000,001-$100 miiiion El sio,ooo,ooo,ooisso binion
EI' ssooiorin,'-sr nriiien Ui s1 oo.,ooo',oti“issoo miiiien El time iran sec wiiien»;

Official Fonn 201 Vo|untary Petition for Non-lndividuals Filing for Bankruptcy page 3

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Debtof

 

Name

16. Estimated Habitities

C} sesso,ooo

Cl 350,001-$100,000
El $100,001-$500,000
El ssoo,»ooi-$i million

- Request for Relief, Dec|aration, and Signatures

WMMNG - Bankruptcy fraud is a serious crime Malr'ing a wse statementin connection with a bankmptcy case can resuit in tines tip to
$500.000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of
debtor

18. Signature of attorney

 

 

tit $i,oor),ooi-$io niiiiion

CJ $10,000,001<$50 million
El 350,000,001-$100 million
Ei si:oo,ooo,~ooi-ssoo miiiion

Case number iirimiiml

ft $aoo,ooo.ooi-$t vision

U $1,000,000,001sio billion
Et $10,000,000,001~$50 binion
El nolo than soo miiion

ii The debtor requests relief in accordance with the chapter of title 11, United States Code, speciiied in this

petition

s l have been authorized to tile this petition on behalf of the debtor.

ii l have examined the information in this petition and have a reasonable belief that the information is true and

nnrre.".t

l declare under penalty of perjury that the foregoing is true and correct

  

vNIM /DD/Y)(YY

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Sigriature ofzttQWG' degth

/ v v ,.
Signatui;e?autho /representative ot debtor
\ ~ '

Title

Prioliedirlame

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D:ite fz'/i’/Y

MM /DD /YYYY

 

Printed name

 

Number Street

 

CW

 

Contact phone

State ZtP Code

 

Emai| address

 

Bar number

 

State

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tdi/little M@l~l»/ LLC.
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